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Meriel L. Darzen, OSB # 113645                    John Persell (OSB # 084400)
Crag Law Center                                   Oregon Wild
3141 E. Burnside St.                              5825 N Greeley Ave.
Portland, Oregon 97214                            Portland, OR 97217
meriel@crag.org | (503) 525-2725                  (503) 896-6472 | jp@oregonwild.org

Nicholas S. Cady, OSB # 113463
Peter D. Jensen III, OSB # 235260
Cascadia Wildlands
P.O. Box 10455
Eugene, Oregon 97440
nick@cascwild.org | peter@cascwild.org
(541) 434-1463

Attorneys for the Plaintiffs


                               UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                       EUGENE DIVISION


CASCADIA WILDLANDS, an Oregon
non-profit organization; OREGON
WILD, an Oregon non-profit organization,
and UMPQUA WATERSHEDS, an
Oregon non-profit organization

                                    Plaintiffs,
                                                  DECLARATION OF PETER JENSEN
       v.

UNITED STATES BUREAU OF LAND                      Case No. 6:24-cv-01641-MTK
MANAGEMENT, a federal agency,

                                Defendant, and


AMERICAN FOREST RESOURCE
COUNCIL and ASSOCIATION OF O&C
COUNTIES,

                      Defendant-Intervenors.
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I, PETER JENSEN, declare as follows:

   1. Investigating forest conditions and wildlife impacts associated with the Blue and Gold

      Harvest Plan, I submitted several Freedom of Information Act (FOIA) requests to the

      Bureau of Land Management (BLM). Specifically relevant to Plaintiffs’ Motion to

      Complete/Supplement the Record, I submitted FOIA Requests for:

               (1) “Information Related to BLM Marbled Murrelet Data for Western Oregon
                   BLM Lands” (a true and accurate copy of the request is attached as Exhibit 1);
                   and

               (2) “Data and Survey Results for Northern Spotted Owls in the BLM’s Blue &
                   Gold Project Area over the Last 5 Years (2019– present)” (a true and accurate
                   copy of the request is attached as Exhibit 2).

   2. In documents provided by BLM in response to my request for information related to

      marbled murrelet across Western Oregon BLM lands, BLM provided three batches of

      documents. Generally, the documents included survey results, mapping exercises,

      protocol information, and correspondence between staff, among other things, spanning

      many areas across Oregon, including lands administered by the BLM’s Roseburg District

      as well as many identifiable as related to the Blue & Gold Harvest Plan.

   3. Specifically, Batch 1 included a folder containing four Microsoft Excel program

      reporting spreadsheets, including a document titled: “04_RMPs_Program Rpting_9-20-

      22.” This document contained an exhaustive table outlining survey coverage, habitat

      conditions, and most notably, stand age classification organized by BLM District Office,

      then narrowed and described from Resource Area (RA) down to the polygon/subunit

      level.

   4. Attached is a true and accurate copy of this document that I have converted into a PDF

      and excerpted to include only the BLM Roseburg RAs, given the scope and location of




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        the present matter and in consideration of discussions with BLM’s counsel.1 See Exhibit

        3 (04_RMPs_Program Rpting_9-20-22 (Roseburg only)).

   5. References to the Blue and Gold Environmental Assessment (EA) and sub-units/polygons

        and watersheds (Yellow Creek, Brush Creek, Bear Creek, Brad’s Creek) within the

        Project Area and included throughout the document. Concerningly, yet consistently with

        Plaintiffs’ and declarants’ comments and other sources of data obtained by them, these

        records show stand ages far older than those disclosed in the EA, with numerous

        polygons/subunits within the project with a “Stand Age 1” identified as 239 years old.

   6. Polygons/subunits can be confirmed and linked directly with timber units in the EA by

        marbled murrelet survey maps contracted to and completed by Hammer Environmental

        L.P. for this Project. These survey maps and results were provided in Batch 3; however,

        they are also within the administrative record (AR) provided by BLM. See AR4222–416;

        AR5655–5807; AR6387–6492; AR7438–7527; AR7719–7793 (Hammer marbled

        murrelet survey maps and results across years/seasons).

   7.    Within the responsive documents to Plaintiffs’ FOIA for “Data and Survey Results for

        Northern Spotted Owls in the BLM’s Blue & Gold Project Area over the Last 5 Years,”

        BLM included a 261 page PDF with considerable information and numerous emails and

        correspondence between BLM staff about survey efforts, impacts, and habitat for



1 Counsel for Defendant and counsel for Plaintiffs conferred regarding this document and agreed

to limit this to the relevant scope based on the location of the Project as proposed. The Blue and
Gold Harvest Plan is contained within the BLM Roseburg District’s Swiftwater RA. Plaintiffs
would have provided just data for the Swiftwater RA; however, the data is intermixed and
otherwise not consistently sequential between the South River RA and the relevant Swiftwater
RA. To avoid significant alteration and manipulation of the table, Plaintiffs’ PDF version of this
Excel document included here as an exhibit accordingly includes all of the data from the
Roseburg District. Plaintiffs agree South River RA information is not relevant to the present
matter.

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               northern spotted owls, as well as significant discussion about forest conditions, stand

               aging, problems with use and accuracy of the Forest Operations Inventory (FOI), and as

               well as admissions related to the primary substantive issue driving Plaintiffs’ present

               suit—that BLM knowingly mis-aged or mischaracterized stand ages in the Project Area.

     8. Specifically, these emails and correspondence explain, expand, and otherwise corroborate

               and/or provide factual basis for Mr. Reeder’s declaration (to be filed with Plaintiffs’

               Motion for Summary Judgment) regarding his experience as BLM Project staff and his

               reporting of these very issues to his co-workers and superiors as an employee and now

               again by comment after retiring, corroborate and verify comments and technical

               information Mrs. Reid supplied to BLM previously in comment and now by declaration

               (also to be filed with Plaintiffs’ Motion for Summary Judgement), and substantiate issues

               and failures related to BLM description and disclosure of forest conditions and wildlife

               impacts associated with its project. These emails and the grounds for their introduction

               are outlined at length in Plaintiffs’ Motion to Complete/Supplement the Record.

               Accordingly, for purposes of my declaration, I primarily outline our means of obtaining

               these documents, provide them, and declare that they are a true and accurate copy of

               them.2 A PDF of these documents is provided and attached as Exhibit 4.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct. Executed this 17th day of April, 2025.

     Peter Jensen
    Peter Jensen (Apr 17, 2025 16:19 PDT)




2
  Noting, the original file was not paginated. The attached document (Exhibit 4) is identical to the original except for
the addition of page numbers for ease of reference of use by parties and this Court.


                                            DECLARATION OF PETER JENSEN-3
